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                                            United States of America
                                    FEDERAL TRADE COMMISSION
                                           Washington, DC 20580




Division of Advertising Practices
      Michelle Rusk
      202-326-3148
     mrusk@ftc.gov


                                                           September 9, 2019

     VIA ECF
     Hon. Louis L. Stanton, U.S.D.J.
     United States District Court
     Southern District of New York
     500 Pearl Street
     New York, NY 10007

     RE:        Federal Trade Commission, et al. v. Quincy Bioscience Holding Co., LLC, et al.
                17-CV-00124-LLS
                Request for Pre-Motion Conference on Plaintiffs’ Motion to Strike Affirmative Defenses

     Dear Judge Stanton:

            On August 16, 2019, pursuant to Your Honor’s Rules of Individual Practice, Plaintiffs the
     Federal Trade Commission and the People of the State of New York submitted a letter to request
     a pre-motion conference (Dkt. 77). Our letter requested leave to file a motion to strike the
     affirmative defenses raised in the answers filed by Defendants on August 7, 2019. (Dkts. 73 and
     74). Three weeks later, on September 6, 2019, Defendants submitted letters opposing our
     request for a pre-motion conference. (Dkts. 82 and 83). Defendants’ objections pertain not to
     the appropriateness of scheduling a conference on the matter, but to the merits.

            Plaintiffs intend to fully address the legal and factual bases for striking affirmative
     defenses should the court grant us leave to file the motion. We did not consider our letter
     requesting the pre-motion conference to be the appropriate vehicle for fully briefing these
     arguments. Nevertheless, we submit the following response to Defendants’ letters and renew our
     request for a pre-motion conference.

             The answers filed by the Quincy Corporate Defendants (Quincy) and Mark Underwood
     each raise seventeen virtually identical affirmative defenses. Plaintiffs intend to limit our
     proposed Motion to Strike to the following specific defenses: Quincy First, Second, Fifth, Sixth,
     Tenth, Thirteenth, Fifteenth, and Seventeenth Affirmative Defenses; and the corresponding
     Underwood First, Third, Sixth, Seventh, Tenth, and Fifteenth Affirmative Defenses, and
     Preamble to those defenses. Contrary to Defendants’ assertion, our initial letter did provide a
     succinct summary of the multiple grounds for our proposed Motion to Strike these defenses. We
     elaborate on that summary here.
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       1. The Challenged Affirmative Defenses Fail to Meet Basic Pleading Standards

        As we stated in our initial letter, the Quincy and Underwood defenses are little more than
a laundry list of legal buzzwords with no supporting facts and should be stricken without further
consideration. Their conclusory assertions do not meet basic requirements of notice pleading
under Fed. R. Civ. P. 8 and Second Circuit law, particularly in light of GEOMC Co. v. Calmare
Therapeutics Inc., 916 F.3d 92, 98-99 (2d Cir. 2019). Even prior to the heightened “plausibility”
test of GEOMC, the affirmative defenses challenged here would have fallen far short on any
analysis of their sufficiency. See, e.g, Schecter v. Comptroller of N.Y., 79 Fed. 265, 270 (2d Cir.
1996).

        Defendants assert that we construe GEOMC too broadly because application of the
plausibility standard is a “context-specific” task. While the GEOMC court considered context,
noting specifically the amount of time the pleader of affirmative defenses had to gather necessary
facts, such context cuts against Defendants here, where they have had more than two years since
the Complaint was filed to develop facts related to these issues. Moreover, with a couple of
exceptions (the laches defense and the ultra vires defense addressed below), the relevant
information would already be in their possession.

       2. Defendants Assert Defenses Already Adjudicated in this Case

        We also seek to strike Quincy’s First, Fifth, Sixth, and Fifteenth Affirmative Defenses
and Underwood’s corresponding First, Sixth, Seventh, and Fifteenth Affirmative defenses on the
grounds that they there were raised more than two years ago in Defendants’ Motions to Dismiss
(Dkts. 34 and 37), have already been fully briefed, and were either rejected by this Court or the
Second Circuit, or were withdrawn by Defendants. Plaintiffs should not be forced to relitigate
the previously denied “failure to state a claim” challenge, the losing challenge to the FTC’s
Complaint as an improper “ultra vires” act, the failed challenge to New York’s personal
jurisdiction, or the clearly flawed First Amendment challenge which is based on the false
premise that the Constitution protects deceptive commercial speech. Bristol-Myers Co. v. FTC,
738 F.2d 554, 562 (2d Cir. 1984) (“deceptive advertising enjoys no constitutional protection”). 1

       3. Defendants Assert Defenses Not Legally Available in This Action

        Quincy’s Second and Tenth Defenses and Underwood’s corresponding Third and Tenth
Defenses (“laches and waiver”; “good faith”) are not available to them as a matter of law in this
action because such equitable defenses cannot generally be asserted in an action brought by
government agencies seeking to enforce or protect a public interest. See, e.g., U.S. v. Summerlin,
310 U.S. 414, 416 (1940). The “good faith” defense is also irrelevant because Defendants’ intent
or “bad faith” is not necessary to establish a violation of the relevant statutes under which this

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  Defendants, while preserving their right to reassert it, dropped the First Amendment argument
from their Motion to Dismiss in a June 4, 2019 letter to this Court (Dkt. 61) following a Court
hearing on May 28, 2019, at which the Court expressed skepticism about the merits of the
argument.
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action is brought. See, e.g., FTC v. Five-Star Auto Club, Inc., 97 F.Supp. 2d 502, 526 (S.D.N.Y.
2000); Wilner v. Allstate Ins. Co., 71 A.D.3d 155, 162 (N.Y. 2d Dep’t 2010).

       4. FDA’s Overlapping Jurisdiction Has No Legal Relevance to This Action

        The Quincy and Underwood Thirteenth Affirmative Defense, that Plaintiffs’ claims “fall
within the primary jurisdiction of the Food and Drug Administration,” not only mischaracterizes
FDA’s jurisdiction, but is also irrelevant to an action brought under the FTC Act and New York
consumer protection laws. FDA law and regulations do not govern this case, Bristol-Myers Co.
v. FTC, 738 F.2d 554, 559 (2d Cir. 1984), and nothing in FDA’s legal framework restricts our
authority to bring law enforcement actions against deceptive marketing of dietary supplements.
Moreover, the FDA generally defers to the FTC in cases involving false or misleading claims for
dietary supplements appearing predominantly in advertising. Working Agreement between FTC
and FDA, 36 Fed. Reg. 19539 (1971).

       5. Defendants Cannot Assert a Blanket Right to Raise Additional Defenses

        Finally, Quincy’s Seventeenth Affirmative Defense, and the Preamble to Underwood’s
affirmative defenses, attempt to assert a blanket reservation of rights to raise any additional
affirmative defenses. Such blanket reservations are routinely struck because they violate the fair
notice requirements of Fed. R. Civ. P. 8 and ignore the requirements for amended or
supplemental pleadings set out in Fed. R. Civ. P. 15. See, e.g., County Van Lines v. Experian
Info. Solutions, Inc., 205 F.R.D. 148, 157-8 (S.D.N.Y. 2002).

       6. Plaintiffs Will be Prejudiced if Invalid Affirmative Defenses Stand

        Plaintiffs should not be forced to waste time and resources relitigating defenses already
raised, briefed, and adjudicated in this matter. Nor should we be subjected to unnecessary and
invasive discovery on spurious defenses that are not available as a matter of law in this action
and therefore would not impact the outcome. As an example, discovery on the waivers and
laches defenses would lead to a fishing expedition into the agencies’ internal workings and
deliberations that would serve no purpose other than to harass Plaintiffs. The Court should
entertain Plaintiffs’ proposed Motion to Strike because it will help streamline this case to the
benefit of the parties and the Court.

       For the foregoing reasons, Plaintiffs renew our request for a pre-motion conference on
whether this Court will grant leave for us to file the proposed Motion to Strike Affirmative
Defenses. We respectfully request that we be permitted to fully brief the Motion before the
Court determines whether to strike the challenged affirmative defenses.

                                                     Respectfully,
                                                     /s/ Michelle Rusk
                                                     Michelle Rusk, Attorney
                                                     Federal Trade Commission
cc:    All counsel of record (via ECF)
